                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                             EASTERN DIVISION

 UNITED STATES OF AMERICA,
               Plaintiff,                              No. CR17-2044-LTS
 vs.                                         ORDER ACCEPTING MAGISTRATE
                                                  JUDGE’S REPORT AND
 PEDRO ALVAREZ RODRIGUEZ,                    RECOMMENDATION REGARDING
                                               DEFENDANT’S GUILTY PLEA
               Defendant.
                                ____________________


                                  I. BACKGROUND
        On July 10, 2017, defendant was charged in Counts 1-4 and 10-14 of a 14-count
indictment    On September 21, 2017, defendant appeared before the Honorable C.J.
Williams, Chief United States Magistrate Judge, and entered a plea of guilty to Counts
1 and 10 of the indictment. On September 22, 2017, Judge Williams filed a Report and
Recommendation (R&R) in which he recommended that defendant’s guilty plea be
accepted. Doc. No. 29. No objections to the R&R were filed. I therefore undertake
the necessary review of Judge Williams’ recommendation to accept defendant’s plea in
this case.


                            II. APPLICABLE STANDARDS
        A district judge must review a magistrate judge’s R&R in a criminal case under
the following standards:
        Within fourteen days after being served with a copy, any party may serve
        and file written objections to such proposed findings and
        recommendations as provided by rules of court. A judge of the court
        shall make a de novo determination of those portions of the report or
        specified proposed findings or recommendations to which objection is
        made. A judge of the court may accept, reject, or modify, in whole or in
        part, the findings or recommendations made by the magistrate judge. The
        judge may also receive further evidence or recommit the matter to the
        magistrate judge with instructions.
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28 U.S.C. § 636(b)(1); see also Fed. R. Crim. P. 59(b). Thus, when a party objects to
any portion of an R&R, the district judge must undertake a de novo review of that
portion.
       Any portions of an R&R to which no objections have been made must be
reviewed under at least a “clearly erroneous” standard. See, e.g., Grinder v. Gammon,
73 F.3d 793, 795 (8th Cir. 1996) (noting that when no objections are filed “[the district
court judge] would only have to review the findings of the magistrate judge for clear
error”). As the Supreme Court has explained, “[a] finding is ‘clearly erroneous’ when
although there is evidence to support it, the reviewing court on the entire evidence is
left with the definite and firm conviction that a mistake has been committed.”
Anderson v. City of Bessemer City, 470 U.S. 564, 573-74 (1985) (quoting United States
v. U.S. Gypsum Co., 333 U.S. 364, 395 (1948)). However, a district judge may elect
to review an R&R under a more-exacting standard even if no objections are filed:
       Any party that desires plenary consideration by the Article III judge of
       any issue need only ask. Moreover, while the statute does not require the
       judge to review an issue de novo if no objections are filed, it does not
       preclude further review by the district judge, sua sponte or at the request
       of a party, under a de novo or any other standard.

Thomas v. Arn, 474 U.S. 140, 150 (1985).


                                     III. DISCUSSION
       Because neither party objects to the R&R, I have reviewed it for clear error.
Based on that review, I am not “left with the definite and firm conviction that a mistake
has been committed.” Anderson, 470 U.S. at 573-74. As such, I hereby accept the
R&R without modification and accept defendant’s plea of guilty in this case as to
Counts 1 and 10 of the indictment.1

1
 United States v. Cortez-Hernandez, 673 F. App’x 587 (8th Cir. 2016) (per curiam), suggests that
a defendant may have the right to de novo review of a magistrate judge’s recommendation to
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       IT IS SO ORDERED.
       DATED this 11th day of October, 2017.




                                             __________________________
                                             Leonard T. Strand, Chief Judge




accept a plea of guilty even if no objection is filed. But see 28 U.S.C. § 636(b)(1); Fed. R. Crim.
P. 59(b). I will undertake a de novo review of the R&R if a written request for such review is
filed within seven (7) days after this order is filed.

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